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UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO
 JACI HUTTO AND JENNIFER MELNYK, individually
 and as representatives of the class,                   CLASS ACTION COMPLAINT
                                                       AND DEMAND FOR JURY TRIAL

                           Plaintiffs,                          Case No.
                                                              ______________
          v.

ALBERTSONS COMPANIES, INC., ALBERTSON’S LLC,
ALBERTSONS COMPANIES, LLC, NEW ALBERTSONS
L.P., ALBERTSONS STORES SUB HOLDINGS, LLC, AB
ACQUISITION LLC, AB MANAGEMENT SERVICES
CORP., AMERICAN FOOD AND DRUG LLC, INK
HOLDINGS, LLC, AND ALBERTSON’S HOLDINGS LLC,


                           Defendants.
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       Jaci Hutto and Jennifer Melnyk, on behalf of themselves and the class set forth below

(“Plaintiffs”), by and through their attorneys Thomas & Solomon, LLP and Ferguson Durham,

PLLC, bring this class action complaint against Albertsons Companies, Inc., Albertson’s LLC,

Albertsons Companies, LLC, New Albertsons L.P., Albertsons Stores Sub Holdings, LLC, AB

Acquisition LLC, AB Management Services Corp., American Food and Drug LLC, Ink Holdings,

LLC, and Albertson’s Holdings LLC (“Defendants” or “Albertsons”).

                                       INTRODUCTION

       1.       This putative class action is brought pursuant to the Fair Credit Reporting Act

(“FCRA”). Defendants routinely violated the FCRA’s core protections by procuring or causing

to be procured consumer and/or investigative consumer reports, as those terms are defined

by the FCRA (herein referred to collectively as “background report(s)” or “consumer

report(s)”), on employees and job applicants without making a legally required stand-alone

disclosure.

       2.       Using the services of a third party, Defendants routinely obtain and rely on the

information in the consumer report to evaluate prospective and current employees.

       3.       Given the determinative role that consumer reports can play regarding an

applicant’s employment prospects, employers are required to ensure that all applicants are

aware of the employer’s intention to procure a background check.

       4.       Specifically, the FCRA provides that an employer or prospective employer

cannot “procure, or cause a consumer report to be procured, for employment purposes with

respect to any consumer, unless…a clear and conspicuous disclosure has been made in

writing to the consumer at any time before the report is procured or caused to be procured,




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in a document that consists solely of the disclosure, that a consumer report may be obtained

for employment purposes.” 15 U.S.C. § 1681b(b)(2)(A)(i) (emphasis added).

         5.       Pursuant to the FCRA, applicants have a right to both obtain a copy of their

consumer reports and to have errors in their reports corrected. See 15 U.S.C. §§ 1681g, 1681i.

In order for applicants to exercise those rights, it is essential that consumers are aware that

a report is going to be procured so that, if they choose, they can request a copy of the report

to proactively ensure that it does not contain any errors.

         6.       Courts have held that the FCRA contains a narrow exception allowing only for

an authorization for the procurement of the consumer report. Inclusion of any additional

information is a willful violation of the FCRA. See Syed v. M-I, LLC, 853 F.3d 492, 501 (9th Cir.

2017).



                                    JURISDICTION AND VENUE

         7.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

this action involves a federal question.

         8.       Venue is proper in this District because Defendants have stores in this District,

Defendants transact business in this District, Plaintiff Melnyk applied for a jobs in this

District, a substantial part of the events or omissions giving rise to the claims took place in

this District (and specifically, completing Defendants’ employment applications in this

District), and Plaintiff Melnyk lived and worked for Defendants in this District.

         9.       Additionally, venue is proper in this District because each of the Defendants

maintain their corporate headquarters in this District.

                                              PARTIES


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Plaintiffs

       Jennifer Melnyk

       10.       Plaintiff Jennifer Melnyk is a resident of Boise, Idaho.

       11.       In or about January 2019, Ms. Melnyk applied to work at Albertsons through

their standard online application.

       12.       Shortly thereafter, Ms. Melynk began working as a cashier for Albertsons.

       13.       Ms. Melnyk completed Defendants’ job application process within this District.

       14.       Ms. Melnyk worked for Albertsons within the District of Idaho.

        Jaci Hutto

       15.       In or about August 2019, Plaintiff Jaci Hutto applied to work at Albertsons

through their standard online application.

       16.       Shortly thereafter, Ms. Hutto began working for Albertsons as a cashier.

       Defendants

       17.       Defendants operate over 400 grocery store locations operating throughout the

United States.

       18.       Defendants utilize a common, uniform job application for all of their stores and

banners.

       19.       Defendant Albertsons Companies, Inc. is a Delaware corporation with a

principal place of business of Boise, Idaho.

       20.       Defendants Albertson’s Stores Sub Holdings LLC, AB Management Services

Corp., Albertson’s LLC, American Food and Drug LLC, and Ink Holdings, LLC, are all

subsidiaries of Albertsons Companies, Inc.




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       21.    Defendant Albertson’s LLC is a Delaware limited liability company with a

principal place of business of Boise, Idaho.

       22.    Defendant Albertsons Companies, LLC is a Delaware limited liability

corporation with a principal place of business of Boise, Idaho.

       23.    Defendant New Albertsons, L.P. is a Delaware corporation with a principal

place of business of Boise, Idaho.

       24.    Defendant Albertsons Holding, LLC is a Delaware limited liability corporation

with a principal place of business of Boise, Idaho.

       25.    Defendant Albertson’s Stores Sub Holdings LLC is a Delaware limited liability

corporation with a principal place of business of Boise, Idaho.

       26.    Defendant AB Acquisition LLC is a Delaware limited liability corporation with

a principal place of business of Boise, Idaho.

       27.    Defendant AB Management Services Corp. is a Delaware corporation with a

principal place of business of Boise, Idaho.

       28.    Defendant American Food and Drug LLC is a Delaware limited liability

company with a principal place of business of Boise, Idaho.

       29.    Defendant Ink Holdings, LLC is a Delaware limited liability company with a

principal place of business of Boise, Idaho.

       30.    Defendants constitute an integrated enterprise employing thousands of

employees.

       31.    At all times mentioned herein, each named Defendant was the employee, agent

or representative of each other Defendant and was acting with the knowledge and consent

of each other Defendant and within the purpose and scope of such employment, agency or


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representation in doing or failing to do the acts alleged in this Complaint. Further, each

Defendant has ratified and approved the acts of its agents.

       32.    Defendants jointly employed the Plaintiffs.

       33.    Defendants oversee the hiring process of all of their locations and request

background checks on behalf of potential employees, including Plaintiffs Hutto and Melynk.

                                            FACTS

Defendants Failure To Make A Proper Disclosure In Violation Of The FCRA

       34.   Plaintiffs Hutto and Melnyk completed Defendants’ standard electronic

documents relating to their anticipated employment, including an electronic authorization

to conduct a background check.

       35.   Defendants’ online authorization causes a background check to be procured by

a third-party company.

       36.    Defendants’ background check authorization contains liability release

language stating:

       . . . . I release all parties and persons, including the Company, from any and all
       liability for any damages for seeking or providing this information, consistent
       with local, state, and federal law.

       37.    The inclusion of the release provisions in connection with the background

disclosure violates the FCRA.

       38.    At the bottom of the page, an applicant must agree to the background check

authorization.

       39.    In completing Defendants’ documentation, Plaintiffs Hutto and Melnyk chose

that they agreed to the background check.




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       40.    Defendants’ online documentation and authorization fails to include a clear

and conspicuous disclosure, in a document consisting solely of the disclosure, that

Defendants would cause a consumer report to be procured.

       41.    By including a release with the disclosure, Defendants willfully disregarded

this regulatory guidance and violated 15 U.S.C. § 1681b(b)(2)(A)(i).

       42.    As such, Plaintiffs Hutto and Melnyk were misled as to the nature and purpose

of their consent and their rights.

       43.    Despite their failure to provide applicants, including Plaintiffs Hutto and

Melynk, with the required stand-alone disclosures, Defendants subsequently procured a

consumer report, or caused a consumer report to be procured on Plaintiffs Hutto and

Melynk.

       44.    Pursuant to the FCRA, applicants have a right to both obtain a copy of their

consumer reports and to have errors in their reports corrected. See 15 U.S.C. §§ 1681g, 1681i.

In order for applicants to exercise those rights, it is essential that consumers are aware that

a report is going to be procured so that, if they choose, they can request a copy of the report

to proactively ensure that it does not contain any errors.

       45.    Not aware of their ability to do so, Plaintiffs Hutto and Melnyk did not request

a copy of the consumer report that was procured by Defendants.

       46.    Plaintiffs Hutto and Melnyk did not understand and/or were confused by

Defendants’ online disclosure forms because they were not limited to the information

required by the stand-alone disclosure requirement.

       47.    Defendants’ background check authorization disclosure contains numerous

extraneous provisions.


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       48.    For example, the disclosure contains several additional paragraphs of

information regarding various state laws and use of public records pending an investigation

of suspicion of wrongdoing.

       49.    Additionally, Defendants’ disclosure includes a “Certification and Release

Statement” section which includes a release of liability waiver. The applicant’s certification

of agreement with the Certification and Release Statement section appears on the same page

as the background disclosure section.

       50.    Despite their failure to provide applicants, including Plaintiffs Hutto and

Melnyk, with the required stand-alone disclosure, Defendants subsequently procured a

consumer report, or caused a consumer report to be procured on Plaintiffs and the Class.

       51.    Thus, Defendants willfully violated 15 U.S.C. § 1681b(b)(2)(A)(i) by procuring

a consumer report, or causing a consumer report to be procured on Plaintiffs, including

Plaintiffs Hutto and Melnyk, for employment purposes without first providing a clear and

conspicuous written disclosure, in a document consisting solely of the disclosure, that a

consumer report may be obtained for employment purposes.

       52.    Plaintiffs suffered a concrete informational injury because Defendants failed

to provide Plaintiffs with information to which they were entitled by statute—a stand-alone

FCRA disclosure form.

       53.    Additionally, as a result of Defendants’ violation, Plaintiffs Hutto and Melnyk

were not only misled by Defendants, but they were subject to a significant invasion of privacy

that could jeopardize their personal reputation as well as their financial well-being. By

procuring consumer reports containing Plaintiffs’ private information without first




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complying with the FCRA’s disclosure requirements, Defendants illegally invaded Plaintiffs’

rights to privacy.

Facts Relating to Defendants’ Willful, Systematic and Repeated FCRA Disclosure
Violation

        54.   Similar to Plaintiffs Hutto and Melnyk, Defendants, through the services of a

third party, conducts background checks on other job applicants as part of its standard

screening process.

        55.   Defendants rely on consumer reporting agencies to obtain this information

and report it. These reports constitute “consumer reports” for purposes of the FCRA.

        56.   The online documentation completed by applicants does not contain a clear

and conspicuous written disclosure to the consumer, in a document that consists solely of

the disclosure, that a consumer report may be obtained by Defendants for employment

purposes, but Defendants routinely request and procure reports from a third party about

applicants and employees in spite of this fact.

        57.   For example, the documentation includes a liability waiver in the disclosure

form.

        58.   The language of the FCRA with respect to the stand-alone disclosure

requirement is clear. See 15 U.S.C. § 1681b(b)(2)(A)(i).

        59.   The Federal Trade Commission (“FTC”) confirms that “[t]he inclusion of such

a [liability] waiver in a disclosure form will violate [the FCRA], which requires that a

disclosure consist ‘solely’ of the disclosure that a consumer report may be obtained for

employment purposes.” See Exhibit A.

        60.   Further, courts have routinely confirmed that the failure to include the stand-

alone disclosure is a violation of the protection afforded to employees under the FCRA. Syed,

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853 F.3d at 496, 500 (holding the inclusion of a liability waiver on the same document as the

FCRA disclosure violates the statute “in light of the clear statutory language that the

disclosure document must consist ‘solely’ of the disclosure”); Gilberg v. Cal. Check Cashing

Stores, LLC, 913 F.3d 1169, 1175 (9th Cir. 2019) (holding the inclusion of state specific

disclosures on the same document as the FCRA disclosure violates the statute).

          61.   By systematically inserting a liability release, Defendants’ willfully violated 15

U.S.C. § 1681b(b)(2)(A).

                                CLASS ACTION ALLEGATIONS

          62.   Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23

(“Rule 23”).

          63.   The class is defined as follows: all of Albertsons’ current, former, and

prospective applicants for employment in the United States who were the subject of a

consumer report that was procured or caused to be procured by Albertsons without proper

disclosure, during the period beginning five years prior to the filing of this action and ending

on the date that final judgment is entered in this action.

          64.   Plaintiff reserves the right to amend or modify the class definitions with

greater specificity, by further division into subclasses and/or by limitation to particular

issues.

          65.   The class action is maintainable under subsections (1), (2), (3) and (4) of Rule

23(a).

          66.   Numerosity is met because the Class size is believed to be over 40 members.

Defendants regularly have consumer reports procured by a third party in order to evaluate

employees and job applicants. Further, Defendants use the information in the consumer


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reports to evaluate employees and job applicants. The size and scale of Defendants’

operations ensures that the number of members in the class will be in the thousands. The

names and addresses of the Class members are available from Defendants’ records.

       67.       Common issues of law and fact exist as to all members of the Classes. The

Plaintiffs and the Class members were all individuals who applied to work for Defendants

and a background check was procured by a third party at the request of Defendants. The

common issues of law and fact also include the following:

             •   Whether Defendants obtained or caused to be procured background checks on
                 employees and job applicants;

             •   Whether Defendants violated the FCRA by causing consumer reports to be
                 procured without providing the proper disclosure;

             •   Whether Defendants’ violations of the FCRA were willful;
             •   The proper measure of statutory and punitive damages; and
             •   The proper form of declaratory relief.

       68.       These common questions of law and fact also predominate over any questions

affecting only individual members.

       69.       Plaintiffs’ claims are typical of the claims of other members of the Class

because the FCRA violations suffered by Plaintiffs Hutto and Melnyk are typical of that

suffered by other Class members, and Defendants treated Plaintiffs Hutto and Melnyk

consistent with other Class members in accordance with their standard policies and

procedures.

       70.       Plaintiffs Hutto and Melnyk are able to fairly and adequately represent the

interests of the Class and have no interest antagonistic to the Class.

       71.       Class Counsel, Thomas & Solomon LLP and Ferguson Durham PLLC, are

qualified and able to litigate the Plaintiffs’ and Class members’ claims.

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        72.   Class Counsel is well experienced in both employment and class action cases.

        73.   This class action is also maintainable under subsection (3) of Rule 23(b)

because questions of law or fact common to Class members (see supra ¶ 67) predominate

over any questions affecting only individual members, and a class action is superior to other

available methods for fairly and efficiently adjudicating this controversy

        74.   Alternatively, the questions of law and fact common to the class may be

certified for class action treatment separately from any questions affecting only individual

members under Rule 23(c)(4) because resolution of those common questions will

significantly advance the litigation.

                                  CAUSE OF ACTION
  Defendants Violated the FCRA by Causing Consumer Reports to be Procured Without
                           First Making a Proper Disclosure
                             15 U.S.C. § 1681b(b)(2)(A)(i)
                  (On behalf of Plaintiffs individually and the Class)

        75.   Plaintiffs Hutto and Melnyk hereby re-allege and incorporate the allegations

set forth above.

        76.   Defendants violated the FCRA by procuring or causing consumer reports to be

procured on Plaintiffs Hutto and Melnyk and other Class members without making the

required disclosure. See 15 U.S.C. § 1681b(b)(2)(A)(i).

        77.   Defendants’ conduct in violation of Section 1681(b)(2)(A) of the FCRA was and

is willful.

        78.   Defendants’ willful conduct is reflected by the above paragraphs as well as the

following:

              a.      Defendants are large corporations with access to legal advice;
              b.      Defendants conduct is inconsistent with the Federal Trade
                      Commission’s  longstanding   regulatory guidance,  judicial

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                      interpretation, and the plain language of the statute; see Exhibit A; see
                      also Syed, 853 F.3d at 500–01; Gilberg, 913 F.3d at 1175–76; and

               c.     Despite the plain statutory text and there being a depth of guidance,
                      Defendants adopted a policy of having consumer reports procured on
                      their employees and job applicants without properly disclosing to them
                      that the reports will be procured on them.

       79.     In the alternative to Plaintiffs’ allegation that these violations were willful,

Plaintiffs allege that the violations were negligent and seek the appropriate remedy, if any,

under 15 U.S.C. § 1681o, including actual damages and attorneys’ fees and costs.

       80.     Plaintiffs Hutto, Melnyk, and the Class members are entitled to statutory

damages of not less than $100 and not more than $1,000 for each and every one of these

violations, pursuant to 15 U.S.C. § 1681n(a)(1)(A).

       81.     Plaintiffs Hutto, Melnyk, and the Class members are entitled to punitive

damages of not less than $100 and not more than $1,000 for each and every one of these

violations, pursuant to 15 U.S.C. § 1681n(a)(2).

       82.     Plaintiffs Hutto, Melnyk, and Class members are further entitled to recover

their costs and attorneys’ fees, pursuant to 15 U.S.C. § 1681n(a)(3).

       WHEREFORE, Plaintiffs Hutto and Melynk, on behalf of themselves and the Class,

pray for relief as follows:

       (a)     Determining that this action may proceed as a class action under Rule 23 of
               the Federal Rules of Civil Procedure;

       (b)     Designating Hutto and Melnyk as class representatives;

       (c)     Awarding class representatives Hutto and Melnyk service payments;
       (d)     Designating Thomas & Solomon LLP and Ferguson Durham PLLC as Plaintiffs’
               and Class members’ counsel;
       (e)     Declaring that Defendants violated the FCRA;
       (f)     Issuing proper notice of the class at Defendants’ expense;



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       (g)    Declaring that Defendants acted willfully in deliberate or reckless disregard of
              Plaintiffs’ rights and Defendants’ obligations under the FCRA;

       (h)    Awarding statutory damages and punitive damages as provided by the FCRA;
       (i)    Awarding reasonable attorneys’ fees and costs as provided by the FCRA;

       (j)    Such other and further legal or equitable relief as this Court deems to be just
              and appropriate.

                                         JURY DEMAND

       Plaintiffs demand a jury to hear and decide all issues of fact in accordance with

Federal Rule of Civil Procedure 38(b).



Dated: October 24, 2019

                                   FERGUSON DURHAM, PLLC

                            By:    /s/ Deborah A. Ferguson
                                   _________________________________

                                   Deborah A. Ferguson
                                   Craig H. Durham


                                   THOMAS & SOLOMON LLP

                                   J. Nelson Thomas, Esq. (all to be admitted pro hac vice)
                                   Michael J. Lingle, Esq.
                                   Jessica L. Lukasiewicz, Esq.
                                   Jonathan W. Ferris, Esq.
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